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AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                            DistrictDistrict
                                                       __________    of Nebraska
                                                                             of __________

                    United States of America
                               v.                                          )
                             Hilario Felix                                 )
                                                                           )    Case No: 8:05CR162
                                                                           )    USM No: 20492-047
Date of Original Judgment:                             06/23/2009          )
Date of Previous Amended Judgment:                                         )    Michael F. Maloney
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   168                     months is reduced to 135 months                           .
                                             (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          06/23/2009              shall remain in effect.
IT IS SO ORDERED.

Order Date:                  09/08/2015
                                                                                                         Judge’s signature


Effective Date:              11/02/2015                                           Laurie Smith Camp, Chief U.S. District Judge
                     (if different from order date)                                                    Printed name and title
         8:05-cr-00162-LSC-TDT                     Doc # 412            Filed: 09/08/15                Page 2 of 2 - Page ID # 2997
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                      This page contains information that should not be filed in court unless under seal.
                                                (Not for Public Disclosure)


                                                  Hilario Felix
DEFENDANT:
CASE NUMBER: 8:05CR162
DISTRICT:        District of Nebraska


I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Total Offense Level: 35                Amended Total Offense Level: 33
Criminal History Category:    I                 Criminal History Category:   I
Previous Guideline Range:     168 to 210 months Amended Guideline Range:     135                                                     to 168        months

II. SENTENCE RELATIVE TO THE AMENDED GUIDELINE RANGE
  ✔
  u The reduced sentence is within the amended guideline range.
  u The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the
    time of sentencing as a result of a substantial assistance departure or Rule 35 reduction, and the reduced sentence
    is comparably less than the amended guideline range.
  u The reduced sentence is above the amended guideline range.

III. ADDITIONAL COMMENTS
  The Defendant's pro se Motion to Reduce Sentence - USSC Amendment (Filing No. 403) is granted, the Defendant's
  Unopposed Motion to Reduce Sentence - USSC Amendment (Filing No. 410) is granted and the parties’ Stipulation
  regarding the Unopposed Motion to Reduce Sentence - USSC Amendment (Filing No. 411) is approved.
